Case 9:22-mj-08332-BER Document 167 Entered on FLSD Docket 07/25/2023 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT                                  FILED UNDER SEAL

  ___________________________________/

                             UNITED STATES’ NOTICE OF FILING

         In accordance with the Court’s Orders of July 14, 2023, see ECF Nos. 164 & 165, the

  United States of America hereby provides notice of the filing of proposed redacted versions of the

  following documents: (1) the United States’ Sealed, Ex Parte Response to Media Intervenors’

  Renewed Motion for Further Unsealing, ECF No. 153, attached hereto as Exhibit A; (2) the United

  States’ Sealed, Ex Parte Motion to Reconsider the Court’s Order to Unseal the Document

  Docketed as ECF #147, ECF No. 158, attached hereto as Exhibit B; and (3) the Sealed Order on

  Motion for Reconsideration, ECF No. 159, attached hereto as Exhibit C. The government has also

  considered whether redactions to the Motion to Seal docketed at ECF number 157 are necessary

  and submits that ECF number 157 may be released publicly without redaction.

         The information the government proposes redacting from the three attached documents

  consists of the same types of information that the Court approved of maintaining under seal in the

  affidavit in its Order of July 5, 2023. See ECF No. 154. These proposed redactions are necessary

  to protect the identities of witnesses and law enforcement personnel, to maintain grand jury secrecy

  consistent with Federal Rule of Criminal Procedure 6(e), and to conceal the government’s

  investigative avenues and techniques to the extent they were not revealed in the indictment in

  United States v. Trump.
Case 9:22-mj-08332-BER Document 167 Entered on FLSD Docket 07/25/2023 Page 2 of 2




         If the Court agrees, the government does not object to the public release of the attached

  redacted versions of ECF numbers 153, 158, and 159. The government also has no objection to

  the public release of ECF number 157 without redaction, or to the public release of this notice.

  Date: July 24, 2023
                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General
                                                      Civil Division

                                                      ELIZABETH J. SHAPIRO
                                                      Deputy Director
                                                      Civil Division, Federal Programs Branch

                                                      /s/ Leslie Cooper Vigen
                                                      LESLIE COOPER VIGEN
                                                      Senior Trial Counsel (D.C. Bar No. 1019782)
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street, NW
                                                      Washington, DC 20005
                                                      Tel.: (202) 305-0727
                                                      Email: Leslie.Vigen@usdoj.gov

                                                      Counsel for United States




                                                  2
